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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                         :
                                                       :
         Plaintiff                                     :               CIVIL ACTION NO.:
                                                       :               3:15-CV-00207-MPS
vs.                                                    :
                                                       :
YALE UNIVERSITY                                        :
                                                       :
         Defendant                                     :               MARCH 11, 2015

                IDENTIFICATION OF INITIAL DISCOVERY PROTOCOL
                           FOR EMPLOYMENT CASES

         The parties agree that the initial discovery protocol does not apply to this case.



                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                   BY:___/s/ Colleen Noonan Davis (#ct27773)
                                                      Colleen Noonan Davis
                                                      Donahue, Durham & Noonan, P.C.
                                                      741 Boston Post Road
                                                      Guilford, CT 06437
                                                      (203) 458-9168
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                                      CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing Identification
of Initial Discovery Protocol was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation
of the court’s electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the court’s
CM/ECF System.


                                                      _______________/s/________________
                                                       Colleen Noonan Davis




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